                      IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


COMPASS, INC. and COMPASS RE NY LLC,                      Case No.: 1:21-cv-02195-LGS

                          Plaintiffs,

                 v.

REAL ESTATE BOARD OF NEW YORK, INC.,

                          Defendant.




  DECLARATION OF JESSICA T. ROSENBERG IN SUPPORT OF NON-PARTY
DOUGLAS ELLIMAN, LLC’S MOTION FOR ITS REASONABLE ATTORNEY’S FEES
   AND COSTS INCURRED IN RESPONDING TO PLAINTIFFS’ SUBPOENAS

       I, Jessica T. Rosenberg, hereby declares as follows under penalty of perjury:

  1.      I am a partner at Kasowitz Benson Torres LLP, counsel for non-party subpoena

          recipient Douglas Elliman, LLC (“Elliman”). I submit this declaration in support of

          Elliman’s motion for attorney’s fees.

  2.      Attached as Exhibit A is a true and correct copy of a Subpoena to Produce

          Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

          Action, which was issued by Compass, Inc. and Compass RE NY LLC (collectively,

          “Compass”) on non-party Elliman in the above-captioned matter on May 25, 2022.

  3.      Attached as Exhibit B is a true and correct copy of a Subpoena to Testify at a

          Deposition in a Civil Action, which Compass issued on non-party Elliman in the

          above-captioned matter on May 25, 2022.

  4.      Attached as Exhibit C is a true and correct copy of Non-Party Douglas Elliman,

          LLC’s Responses & Objections to Plaintiffs’ Subpoena to Produce Documents,

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      Information or Objects or Permit Inspection of Premises in a Civil Action.

5.    Attached as Exhibit D is a true and correct copy of Non-Party Douglas Elliman,

      LLC’s Responses & Objections to Plaintiffs’ Subpoena to Testify at a Deposition in a

      Civil Action.

6.    Attached as Exhibit E is a true and correct copy of e-mail correspondence between

      counsel for Elliman and counsel for Compass, dating from June 27, 2022 through

      November 3, 2022.

7.    Attached as Exhibit F is a true and correct copy of a letter that counsel for Compass

      sent to counsel for Elliman on July 28, 2022.

8.    On June 8, 2022, counsel for Elliman and Compass spoke by telephone. During that

      call, they agreed on dates for Elliman’s responses and objections to Compass’s

      subpoenas and agreed to put a deposition date on hold pending further discussion.

9.    On July 8, 2022, counsel for Elliman and Compass held a meet-and-confer by

      telephone to discuss Compass’s document requests and Elliman’s objections thereto.

      During that call, Elliman agreed to propose search terms and custodians for

      Document Requests Nos. 1-4.

10.   During the first few days of August 2022, Elliman worked to assess the review set of

      Compass’s eight proposed search strings for the two agreed-upon custodians, and

      Elliman determined that six of those eight search strings collectively returned

      approximately 9,000 items, but the remaining two search strings collectively returned

      approximately 160,000 items.

11.   On Friday, August 12, 2022, counsel for Elliman and Compass held a meet-and-

      confer by telephone. During that call, Elliman’s counsel informed Compass’s



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      counsel that it agreed to the six more narrow search strings that Compass proposed,

      but that it would be an undue burden for Elliman to review the approximately

      160,000 items that return pursuant to the other two. Elliman also explained that

      within the agreed-upon custodians and search strings, Elliman would also produce

      materials responsive to Requests 5-6, and to another request as narrowed by

      Compass’s July 28 letter.

12.   The two narrowed search strings that Compass proposed on August 19 returned

      approximately 23,000 items.

13.   On September 30, 2022, counsel for Elliman and Compass held a meet-and-confer by

      telephone. During that call, Elliman explained that, subject to the agreed-upon

      custodians and search terms, Elliman would produce documents responsive to all of

      Compass’s document requests. Elliman also stated that it was in the midst of its

      review and may be able to make a production in October.

14.   Of the seven search strings that Compass proposed on October 10 for the third and

      fourth agreed-upon custodians, six collectively returned approximately 4,800 items,

      while the seventh returned well over 50,000 items.

15.   The agreed-upon, narrowed search string for the third and fourth custodians returned

      approximately 6,000 additional items.

16.   In total, across the four custodians and fifteen search strings, Elliman agreed to

      review approximately 43,000 items in the files of four custodians. Elliman worked

      diligently throughout the fall, and especially in October and November to review

      these items, and by early December—slightly over a month before this case’s date for

      the completion of document discovery—Elliman had completed first-level, second-



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      level, and privilege review of the approximately 43,000 items, and was prepared to

      produce approximately 3,500 responsive items.

17.   From November 3 until the filing of its December 9 letter seeking voluntary

      dismissal, counsel for Compass did not communicate with counsel for Elliman.

18.   On January 6, counsel for Elliman sent counsel for Compass a letter in an attempt to

      negotiate a compromise whereby Compass would compensate Elliman for a portion

      of the fees that Elliman spent responding to Compass’s subpoenas.

19.   Compass replied on January 10 that it had no intention of compromising.

20.   Elliman’s law firm staffed this matter leanly, assigning one partner, one senior

      associate, and one junior associate to handle the entirety of the work. These three

      attorneys billed at reasonable rates for this district, for competitor firms, and for the

      nature of the work here, which involved responding to two broad subpoenas in a case

      in which the client was named as a co-conspirator in an antitrust complaint almost 60

      pages in length. The attorneys billed their time in tenths of an hour, keeping

      contemporaneous records of how the time was spent. The total amount sought in this

      motion is $211,678. If requested, Elliman is willing to provide the Court with a

      sealed copy of Elliman’s legal bills (which are protected by attorney-client privilege)

      for in camera inspection.

21.   During Elliman’s counsel’s document review, it discovered an email dated January 9,

      2018, by which Robert Reffkin—Compass’s founder, chief executive officer, and

      REBNY representative—voted to adopt Article II, Section 7, which is the very rule

      that constituted the purported basis of Compass’s suit. If requested, Elliman will

      provide the Court with a copy of that e-mail.



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Dated: February 2, 2023
       New York, New York
                                KASOWITZ BENSON TORRES LLP

                                By: /s/ Jessica T. Rosenberg
                                Jessica T. Rosenberg
                                (jrosenberg@kasowitz.com)
                                1633 Broadway
                                New York, New York 10019
                                Telephone: (212) 506-1700

                                Counsel to Non-Party Douglas Elliman, LLC




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